        Case 4:17-cv-01297-KOB Document 33 Filed 04/18/18 Page 1 of 1                  FILED
                                                                              2018 Apr-18 PM 12:08
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         MIDDLE DIVISION


STERLEN RAMSEY,                      ]
                                     ]
      Plaintiff,                     ]
                                     ]
VS.                                  ]   CIVIL ACTION NO.
                                     ]    4:17-CV-1297 KOB
TRUEACCORD CORP., and                ]
CASCADE CAPITAL, LLC.,               ]
                                     ]
      Defendants.                    ]

                                   ORDER

      This cause comes before the court upon the "Joint Stipulation of Dismissal."

(Doc. 32). Upon consideration thereof, the court ORDERS that this case be, and

the same hereby is, DISMISSED, in its entirety, WITH PREJUDICE, each party to

bear his or its own costs.

      DONE and ORDERED this 18th day of April, 2018.


                                   _________________________________
                                   KARON OWEN BOWDRE
                                   CHIEF UNITED STATES DISTRICT JUDGE
